




NO. 07-08-0516-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL B



FEBRUARY 12, 2009

______________________________



CURTIS LEE SMITH,



Appellant



v.



THE STATE OF TEXAS, 



Appellee



_________________________________



FROM THE 242nd DISTRICT COURT OF HALE COUNTY;



NO. B17591-0803; HON. EDWARD LEE SELF, PRESIDING

_______________________________



ON ABATEMENT AND REMAND

_______________________________



Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.

Appellant appeals from his conviction for possession of a controlled substance. &nbsp;Neither the clerk’s record nor the reporter’s record have been filed. &nbsp;Extension motions were filed by the clerk and court reporter on February 9, 2009. &nbsp;Movants represented that appellant has not submitted a request for the clerk’s or reporter’s record and has not paid or made arrangements to pay for the clerk’s record.

Accordingly, we abate this appeal and remand the cause to the 242nd District Court of Hale County (trial court) for further proceedings. &nbsp;Upon remand, the trial court shall immediately cause notice of a hearing to be given and, thereafter, conduct a hearing to determine the following:

1. &nbsp;whether appellant desires to prosecute the appeal; 

 &nbsp;&nbsp;&nbsp;	2. &nbsp;whether appellant is indigent; and, 

3. &nbsp;whether the appellant is entitled to a free appellate record due to his indigency. 



The trial court shall cause the hearing to be transcribed. &nbsp;So too shall it 1) execute findings of fact and conclusions of law addressing the foregoing issues, 2) cause to be developed a supplemental clerk’s record containing its findings of fact and conclusions of law and all orders it may issue as a result of its hearing in this matter, and 3) cause to be developed a reporter’s record transcribing the evidence and arguments presented at the aforementioned hearing, if any. &nbsp;Additionally, the district court shall then file the supplemental records and reporter’s records transcribing the hearing with the clerk of this court on or before March 16, 2009. &nbsp;Should further time be needed by the trial court to perform these tasks, then same must be requested before March 16, 2009.

It is so ordered.

Per Curiam

Do not publish.


